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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §    CRIMINAL NO. 4:11CR248
                                                  §
 DYLAN ANDREW DOVE (15)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on July 12, 2016 to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by

 Ernest Gonzalez.

        On May 23, 2014, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 36 months imprisonment for violation of 21 U.S.C. § 846,

 841(b)(1)(C) (Conspiracy to Possess with Intent to Distribute less than 100 Grams of Heroin),

 followed by a 3-year term of supervised release. Defendant began his term of supervision on January

 27, 2015. This case was re-assigned to the Honorable Marcia A. Crone, United States District Judge,

 on October 7, 2015.

        On June 9, 2016, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 1330). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall refrain from any unlawful use




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 of a controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia related

 to any controlled substances, except as prescribed by a physician; and (3) Defendant shall participate

 in a program of testing and treatment for drug abuse, under the guidance and direction fo the United

 States Probation Office, until such time as the defendant is released from the program by the

 probation officer.

        The Petition alleges that Defendant committed the following violations: (1) Defendant

 submitted a urine specimen on March 14, 2016, which tested positive for marijuana, and on March

 18, 2016, he admitted verbally and in writing to Senior U.S. Probation Officer Linda Werner that

 he used said substance; (2) Defendant submitted to urine specimens on March 23, April 12, April

 20, April 22, April 25, and April 27, 2016, which tested positive for marijuana, and on June 3, 2016,

 a THC Interpretation report was obtained from Alere Laboratory Toxicology Services reporting there

 was new drug use prior to the April 12, April 20, and April 22, 2016, specimens; (3) Defendant

 submitted a urine specimen on May 31, 2016, which tested positive for benzodiazepine and

 amphetamine, and on June 3, 2016, Defendant admitting verbally and in writing to Senior U.S.

 Probation Officer Linda Werner that he took prescription medications Adderall and Xanax which

 were not prescribed to him; (4) Defendant failed to attend substance abuse counseling at Blackburn

 Social Services, PLLC, Denison, TX, on May 28, 2016, as instructed; and (5) Defendant failed to

 submit to drug testing at Addiction Treatment Resources, McKinney, TX, on February 8, and May




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     20, 2016, as directed.

            At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

     his right to allocute before the district judge and his right to object to the report and recommendation

     of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                           RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments and

     testimony presented at the July 12, 2016 hearing, the Court recommends that Defendant be
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     committed to the custody of the Bureau of Prisons to be imprisoned for a term of six (6) months,

     with no supervised release to follow. The Court further recommends that Defendant’s term of

     imprisonment be carried out in the Seagoville Bureau of Prisons facilities, if appropriate.

            SIGNED this 13th day of July, 2016.

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                                                     ____________________________________
                                                     DON D. BUSH
                                                     UNITED STATES MAGISTRATE JUDGE




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